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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


UNITED STATES OF AMERICA,                         )     Case No. 5:02 CR 00255-016
                                                  )
                Plaintiff,                        )     Judge James S. Gwin
                                                  )
        vs.                                       )     REPORT AND RECOMMENDATION
                                                  )          OF MAGISTRATE JUDGE
JARVIS DUNCAN,                                    )
                                                  )     Magistrate Judge James S. Gallas
                Defendant.                        )




        For the reasons that follow, the undersigned recommends that the supervised release violation

against the defendant as set forth in the June 1, 2005 violation report be dismissed.




        On June 10, 2005 Judge James S. Gwin issued a warrant for the arrest of the defendant

pursuant to the June 1, 2005 supervised release violation report from Probation Officer Larry J.

Grimes which set forth the following violation:

                Law Violations - On 05/17/2005, the offender was arrested by the Akron
                Police for Receiving Stolen Property (F4), Weapons Under Disability (F3)
                and Participation in a Gang (F2). He is currently in Summit County Jail, and
                his bond is set at 10% of $50,000.00 [Case # 05CRA6079].

        A holder was placed on defendant, and when the state charges were dismissed, defendant was

brought before the undersigned on August 9, 2005. Defendant was found to be indigent and Assistant

Public Defender Dennis Terez was appointed to represent him. Also present were Probation Officer

Larry J. Grimes and Assistant U.S. Attorney Robert Bulford.
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        Probation Officer Grimes advised the court that the law violation involving the arrest of the

defendant on May 17, 2005 by the Akron Police Department had now been dismissed and Probation

Officer Grimes therefore moved that the supervised release violation be dismissed. Assistant U.S.

Attorney Bulford and Assistant Public Defender Terez joined in this motion.




        In view of the foregoing, it is recommended that the motion to dismiss the June 1, 2005

supervised release violation against the defendant be granted.




        The probation officer’s recommendation for $5,000 unsecured appearance bond was found

acceptable by the assistant U.S. attorney and defense counsel.       There being no objection the

defendant was released on $5,000.00 unsecured bond pending final disposition of the June 1, 2005

supervised release violation report.


                                                            s/James S. Gallas
                                                         United States Magistrate Judge


Date: August 10, 2005
